     Case 1:21-cr-00016-RJJ ECF No. 1, PageID.1 Filed 01/27/21 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,

              vs.

JON MATTHEW WILSON,
                                                              INDICTMENT
                  Defendant.
_________________________________/

       The Grand Jury charges:

                                         COUNT 1
                            (Distribution of Child Pornography)

       Between on or about August 15, 2018 and on or about August 30, 2018, in Ingham

County, in the Southern Division of the Western District of Michigan,

                                  JON MATTHEW WILSON

knowingly distributed child pornography using a means or facility of interstate or foreign

commerce by any means, including by computer.

       Specifically, Wilson sent three images and a video of child pornography using the

Kik Internet application.




18 U.S.C. § 2252A(a)(2)(A), (b)(1)
18 U.S.C. § 2256
     Case 1:21-cr-00016-RJJ ECF No. 1, PageID.2 Filed 01/27/21 Page 2 of 4




                                        COUNT 2
                            (Possession of Child Pornography)

       On or about August 31, 2018, in Ingham County, in the Southern Division of the

Western District of Michigan,

                                JON MATTHEW WILSON

knowingly possessed material that contained images of child pornography, including

images that involved prepubescent minors, which materials had been mailed, shipped,

and transported in or affecting interstate or foreign commerce by any means, including

by computer.

       Specifically, Wilson knowingly possessed a Motorola Model XT1806 cellular

phone, containing a 200 GB Micro SD Flash Card, which contained multiple images and

videos of child pornography.


18 U.S.C. § 2252A(a)(5)(B), (b)(2)
18 U.S.C. § 2256
     Case 1:21-cr-00016-RJJ ECF No. 1, PageID.3 Filed 01/27/21 Page 3 of 4




                             FORFEITURE ALLEGATION
                  (Distribution and Possession of Child Pornography)

       The allegations contained in the Indictment are hereby re-alleged and

incorporated by reference for the purpose of alleging forfeitures pursuant to 18 U.S.C.

§ 2253.

       Pursuant to 18 U.S.C. § 2253, upon conviction of an offense in violation of 18 U.S.C.

§ 2252A,

                               JON MATTHEW WILSON

shall forfeit to the United States of America any visual depiction described in 18 U.S.C.

§ 2252A; any matter which contains any such visual depiction that was produced,

transported, mailed, shipped, and received in violation of Title 18, United States Code,

Chapter 110; any property, real or personal, constituting or traceable to gross profits or

other proceeds obtained from the offenses; and any property, real or personal, used or

intended to be used to commit or to promote the commission of the offenses or any

property traceable to such property. The property to be forfeited, as to all counts,

includes, but is not limited to a Motorola Model XT1806 cellular phone and a 200 GB

Micro SD Flash Card.

      If any of the property described above, as a result of any act or omission of the

defendant

               1. cannot be located upon the exercise of due diligence;

               2. has been transferred or sold to, or deposited with, a third party;

               3. has been placed beyond the jurisdiction of the court;

               4. has been substantially diminished in value; or
     Case 1:21-cr-00016-RJJ ECF No. 1, PageID.4 Filed 01/27/21 Page 4 of 4




               5. has been commingled with other property which cannot be divided
                  without difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant

to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 2253(b) and by 28 U.S.C. § 2461(c).



18 U.S.C. § 2253
21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)
18 U.S.C. § 2252A
18 U.S.C. § 2256(8)(A)
                                          A TRUE BILL


                                          __________________________________________
                                          GRAND JURY FOREPERSON
ANDREW BYERLY BIRGE
United States Attorney


___________________________________
DAVIN M. REUST
Assistant United States Attorney
